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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



UNITED STATES OF AMERICA,                    )      JUDGE CHRISTOPHER A. BOYKO
                                             )
                 Plaintiff,                  )      CASE NO.1:05CR582-002
                                             )
       -vs-                                  )
                                             )
JEREMY JOSIC,                                )      ORDER
                                             )
                                             )
                 Defendants                  )

       The Court, having before it Defendant Jeremy Josic’s Motion to Correct
Sentence Pursuant to Rule 35(a) F.R.Cr.P. on the Basis of Clear Error (ECF Doc. No.
84), finds the Motion is well taken, and therefore, corrects the oral sentence of:


       “The defendant is sentenced to the Bureau of Prisons for a term of 60
       months on Count 1; 84 months on Counts 2 - 18 to run concurrent; 84
       months on Count 15 to run consecutive to Count 1,"
to
       Count 1 - Defendant sentenced to 60 months
       Counts 2 - 18, Defendant sentenced to 97 months
       Counts 1 - 18 shall all run concurrent to one another.


       The Court finds that it did not give the Defendant advance notice of an upward
departure from the Guideline Range of 78 to 97 months, pursuant to United States v
Meeker (6th Cir, 2005), 411 F.3d 736.
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      Finding plain error in not giving Defendant advance notice of an upward
departure, the Court need not address Defendants’ remaining arguments.


      Finally, the Court believes the corrected sentence within the Guideline Range is
amply supported by the findings and comments made by the Court at the sentencing
hearing.

      IT IS SO ORDERED.


                                                     s/Christopher A. Boyko
                                                     Christopher A. Boyko
                                                     United States District Judge


DATE: December 6, 2006
